      Case 1:24-cv-00863-JPW      Document 21      Filed 12/27/24   Page 1 of 12




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
CODORUN FARMS, INC.,                       :   Civil No. 1:24-CV-863
                                           :
             Plaintiff,                    :
                                           :
             v.                            :
                                           :
WEST MANCHESTER TOWNSHIP,                  :
et al.,                                    :
                                           :   Judge Jennifer P. Wilson
             Defendants.

                                 MEMORANDUM

      Before the court is the motion to dismiss for failure to state a claim, filed by

Defendants West Manchester Township (“Township”), Steven Harlacher, Ronald

Ruman, Dave Markel, Rachelle Sampere, and Kelly K. Kelch (collectively

“Defendants”). (Doc. 11.) Plaintiff Codorun Farms alleges the Township violated

its rights to substantive due process in the course of litigating multiple zoning

disputes. (Doc. 1.) For the reasons that follow, the motion will be granted.

               FACTUAL BACKGROUND AND PROCEDURAL HISTORY

      Codorun Farms alleges that in approximately the fall of 2018 to the spring of

2019 the Township entered Codorun Farms’ 400-plus acre property and removed

two large hedgerows without notice. (Doc. 1, ¶¶ 16, 18.) As a result of this

conduct, Codorun Farms filed a Right to Know Law [“RTKL”] request regarding

the incident. (Id. ¶ 19.) Codorun Farms alleges that “in consideration of it

foregoing the production of the requested records, the Township offered to pay

                                           1
      Case 1:24-cv-00863-JPW     Document 21     Filed 12/27/24   Page 2 of 12




Codorun Farms . . . $11,928.65.” (Id. ¶ 20; Doc. 1-3.) Codorun Farms accepted

this offer. (Doc. 1, ¶ 20.) According to Codorun Farms, “[s]ince [the release], the

Township and the other Defendants have continued a course of conduct designed

to deliberately target Codorun Farms and abuse its/their government powers by

imposing arbitrary and frivolous fines and penalties on Codorun Farms under color

of law.” (Id. ¶ 23.) Defendants are allegedly motived by “retribution for Codorun

Farms’ RTKL Request and payment by the Township under the General Release

related thereto.” (Id. ¶ 24.)

      Codorun Farms alleges three specific actions that the Township has taken

that have targeted Codorun Farms. First, Codorun Farms notes that it has had a

problem with illegal trash dumping on its property along Old Salem Road. (Id. ¶¶

25, 26.) “[H]istorically[,] the Township has regularly sent maintenance crews to

the Property to remove the debris[.]” (Id. ¶ 27.) This has been a practice for over

sixty years. (Id. ¶ 28.) However, following the “hedgerow incident,” the

Township stopped collecting the trash and “did not take any action to prevent the

illegal dumping by the public, such as posting signs or involving law

enforcement.” (Id. ¶ 30.)

      The second action is that Defendant Rachelle Sampere (“Defendant

Sampere”), the Township’s zoning officer, issued a notice of violation of a

Township zoning ordinance for allowing outdoor accumulation of garbage on


                                         2
      Case 1:24-cv-00863-JPW       Document 21      Filed 12/27/24   Page 3 of 12




March 3, 2022. (Id. ¶¶ 10, 31.) The Township issued this notice knowing that

Codorun Farms “had not left the debris along the Old Salem Road” and cited the

Township for “the dumping of other individuals.” (Id. ¶¶ 32, 35.) Codorun Farms

timely appealed this notice to the zoning hearing board, which found in favor of

the Township. (Id. ¶¶ 37, 44.) At the hearing before the zoning hearing board,

Defendant Sampere testified that the Township stopped collecting the trash “due to

litigation” and then clarified that “litigation” referred to a situation where “[t]here

was damage done to Codorun Farms’ property and the [T]ownship was sued.” (Id.

¶¶ 41, 42.) Codorun Farms appealed this decision and on May 3, 2024, and the

Court of Common Pleas of York County reversed the notice of violation. (Id. ¶¶

45, 46.)

      The third action that Codorun Farms alleges is that the Township issued a

second notice of violation, insisting that Codorun Farms needed a building permit

for stone pillars that had “been present for months, contributed to the beauty of the

community, posed no hazard, and otherwise had no negative impact.” (Id. ¶¶ 50–

52; Doc. 1-6.) Codorun Farms applied for a zoning variance, which the zoning

hearing board granted, with the condition of “establishing that the pillars are not in

the right of way for the Pennsylvania Department of Transportation

(“PennDOT”).” (Id. ¶¶ 54–56.) The Township made complying with the

conditions “as complex, costly, and difficult as possible[,]” specifically by sending


                                           3
      Case 1:24-cv-00863-JPW      Document 21      Filed 12/27/24   Page 4 of 12




its own engineer to the property to inspect the pillars, instead of relying on

Codorun Farms’ consultant, as well as insisting on a formal letter from PennDOT

that the pillars were not in its right of way. (Id. ¶¶ 57, 58.) Ultimately, “Codorun

Farms pressed the issue [and] the Township relented and accepted a letter from

Codorun Farms’ consultant as sufficient to meet the Township-imposed variance

condition.” (Id. ¶ 60.) Finally, although not discussed in Codorun Farms’ brief in

opposition, the Township also “reported the presence of dirt piles on Codorun

Farms property to the York County Conservation District. Codorun Farms was

forced to spend time and energy to address the matter.” (Id. ¶ 61.)

      Codorun Farms alleges that the above conduct “evinced a malicious intent

and concerted course of conduct under color of law designed to specifically target

Codorun Farms[,]” and further that “[t]he Defendants have used their position of

authority to further their own personal agenda, including those motivated by ill will

and animus to Codorun Farms.” (Id. ¶ 62, 63.)

      In its complaint, filed on May 24, 2024, Codorun Farms alleges one count of

violation of its Fourteenth Amendment substantive due process rights under 42

U.S.C. § 1983 due to “Defendants’ repeated targeting [of] Codorun Farms for false

violations, arbitrary refusal to provide standard permits and deviations from

customary practice[.]” (Id. ¶ 66.) Defendants filed a motion to dismiss for failure

to state a claim and supporting brief on August 2, 2024. (Docs. 11, 12.) Codorun


                                           4
      Case 1:24-cv-00863-JPW        Document 21      Filed 12/27/24    Page 5 of 12




Farms filed a brief in opposition on August 15, 2024. (Doc. 13.) Defendants did

not file a reply brief. Thus, the motion to dismiss is ripe and ready for disposition.

                              JURISDICTION AND VENUE

       This court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343

because Codorun Farms alleges a violation of its constitutional rights under 42

U.S.C. § 1983. Venue is proper in the Middle District of Pennsylvania under 28

U.S.C. § 1391 because all parties are located within the Middle District of

Pennsylvania and all events alleged in the complaint occurred within the Middle

District.

                                STANDARD OF REVIEW

       In order “[t]o survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)). A claim is plausible on its face “when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (quoting

Twombly, 550 U.S. at 556). “Conclusory allegations of liability are insufficient” to

survive a motion to dismiss. Garrett v. Wexford Health, 938 F.3d 69, 92 (3d Cir.

2019) (quoting Iqbal, 556 U.S. at 678–79). To determine whether a complaint

survives a motion to dismiss, a court identifies “the elements a plaintiff must plead


                                            5
         Case 1:24-cv-00863-JPW         Document 21       Filed 12/27/24    Page 6 of 12




to state a claim for relief,” disregards the allegations “that are no more than

conclusions and thus not entitled to the assumption of truth,” and determines

whether the remaining factual allegations “plausibly give rise to an entitlement to

relief.” Bistrian v. Levi, 696 F.3d 352, 365 (3d Cir. 2012) abrogated on other

grounds as recognized in Mack v. Yost, 968 F.3d 311, 319 n. 7 (3rd Cir. 2020).

                                          DISCUSSION

         Defendants raise two arguments as to why Codorun Farms’ complaint

should be dismissed. First, Defendants argue that Codorun Farms fails to state a

claim for a violation of substantive due process because it has not alleged any

action by the Township that shocks the conscience. (Doc. 12.) Second,

Defendants argue that naming the individual defendants is “unnecessary and

redundant” because naming the Township is sufficient. (Id.) The court will

address only the argument regarding failure to state a claim because it fully

resolves the motion.

         Defendants argue that, under the standard applicable to substantive due

process violations arising from land use disputes, Codorun Farms has failed to

allege behavior by local officials that shocks the conscience. (Doc. 12, p. 5.)1

Specifically, Defendants argue that Codorun Farms “has failed to allege sufficient

factual averments that Defendants acted willfully, wontly [sic], outrageously and


1
    For ease of reference, the court uses the page numbers contained in the CM/ECF header.
                                                 6
        Case 1:24-cv-00863-JPW     Document 21     Filed 12/27/24    Page 7 of 12




specifically designed to punish Plaintiff without justification.” (Id. at 6.)

Defendants characterize the conduct described in the complaint as “[t]he resolution

of a disagreement over third party illegal dumping under supervision of the Court

of Common Pleas” and issuance of a violation notice for failure to secure proper

zoning approvals in advance of work on the property. (Id.) Defendants argue that

these actions cannot satisfy the legal standard for a deprivation of due process.

(Id.)

        Codorun Farms responds by contesting the application of the “shocks the

conscience” test to the actions alleged in its complaint. (Doc. 13.) First, Codorun

Farms argues, without citation to any authority, that the Township changing its

unwritten policy of collecting trash on the perimeter of Codorun Farms’ property is

a legislative action. (Doc. 13, p. 16.) Codorun Farms argues that a substantive due

process challenge to a legislative action only requires a plaintiff to show “‘that the

act [is] rationally related to some legitimate government purpose.’” (Id. at 17

(quoting Nicholas v. Pa. State Univ., 227 F.3d 133, 142 (3d Cir. 2000)).

According to Codorun Farms, it has met this burden because “Defendants have

expressly admitted that the purpose of this legislative change was to retaliate

[against] Codorun for seeking compensation for damage to its property. This is not

a rational government interest[.]” (Id.) Second, Codorun Farms argues, again

without citation, that the violation notice for the illegal dumping is “an improperly


                                           7
      Case 1:24-cv-00863-JPW      Document 21      Filed 12/27/24   Page 8 of 12




issued criminal penalty[,]” and the court should find that the Township’s actions

shocked the conscience because “Defendants here deliberated on their course of

action, then decided to intentionally harm Codorun. Clearly, this shocks the

conscience and cannot be permitted to stand in a just society.” (Id. at 18, 19.)

Finally, Codorun Farms argues that the Township’s decision to complicate

Codorun Farms’ compliance with a zoning variance shocks the conscience because

“Defendants took deliberate and malicious action against a private property owner,

despite it serving no government interest, despite it actively harming the interests

of the local taxpayers, and despite it being driven by personal animus.” (Id. at 19.)

      Preliminarily, the court disagrees with Codorun Farms that some actions by

the Township are legislative and require the application of a different standard.

The Third Circuit Court of Appeals has recognized two strands of substantive due

process protection, differentiated by the nature of the government action:

legislative versus non-legislative. Nicholas, 227 F.3d at 142. Non-legislative, or

executive, actions “typically apply to one person or to a limited number of persons,

while legislative acts, generally laws and broad executive regulations, apply to

large segments of society.” Id. at 139, n.1. Although Codorun Farms argues that

the Township “changing the policy” regarding trash pickup along Old Salem Road

is “a legislative decision, as it involves modification of Township policy[,]” it cites

no case law that supports this proposition. Thus, the court will apply the standard


                                           8
      Case 1:24-cv-00863-JPW          Document 21        Filed 12/27/24     Page 9 of 12




from Nicholas to determine if the Township changing its policy is a legislative

action. Codorun Farms does not allege in its complaint that there was an official,

written Township policy or agreement between the parties regarding the removal

of trash from this road, or that the policy is broad-reaching or akin to an official

zoning ordinance adopted by the Township. Rather, the action is executive

because it regards a limited number of people, specifically, only Codorun Farms.

Accordingly, the Township changing the policy is an executive action. Next,

Codorun Farms provides no support for the proposition that the Township issuing

the notice violation involving the illegal trash dumping is a “criminal penalty.”

Issuing a violation notice is clearly an executive action targeted at one entity,

Codorun Farms. Thus, all challenged actions are executive actions.

       To state a claim for a substantive due process violation due to an executive

action, a plaintiff must show that the action “shocks the conscience.”2 United

Artists Theatre Circuit, Inc. v. Twp of Warrington, PA, 316 F.3d 392, 400 (3d Cir.

2003). Whether an action shocks the conscience “varies depending on the factual

context.” Id. “What is clear is that this test is designed to avoid converting federal

courts into super zoning tribunals. What ‘shocks the conscience’ is ‘only the most




2
 A plaintiff also must show that they were deprived of a property interest protected by the
Constitution. Nicholas, 227 F.3d at 138. The Third Circuit has “so far limited non-legislative
substantive due process review to cases involving real property ownership.” Id. at 141.
Defendants do not contest that Codorun Farms has been deprived of a property interest.
                                                9
     Case 1:24-cv-00863-JPW       Document 21     Filed 12/27/24   Page 10 of 12




egregious official conduct.’” Eichenlaub v. Twp. of Indiana, 385 F.3d 274, 285

(3d Cir. 2004) (cleaned up). In the context of zoning or land disputes, the Third

Circuit has explained what conduct shocks the conscience by sketching the outer

limits. For example, in Eichenlaub, the Third Circuit held that a zoning official

applying subdivision requirements to one property but not others; pursuing

“unannounced and unnecessary inspection and enforcement actions;” delaying

permits and approvals, improperly increasing tax assessments, and “malign[ing]

and muzzl[ing]” property owners did not shock the conscience. Id. at 286.

However, the Third Circuit opined that the following conduct did shock the

conscience: “seeking to hamper development in order to interfere with otherwise

constitutionally protected activity at the project site, or because of some bias

against an ethnic group[;]” and effecting a “virtual ‘taking’” through an

unauthorized seizure and forced sale that also “carried a whiff of self-dealing.” Id.

at 285–86.

      Codorun Farms does not allege conduct by the Township that shocks the

conscience sufficient to state a claim for a violation of due process. Codorun

Farms has only alleged ordinary zoning disputes, such as those discussed in

Eichenlaub. Changing an unwritten, although longstanding, policy, and issuing a

notice of violation for trash on the property and for the stone pillars are simply

regular zoning disputes, akin to maligning and muzzling a property owner or


                                          10
     Case 1:24-cv-00863-JPW       Document 21     Filed 12/27/24   Page 11 of 12




applying certain requirements to one property but not the other. Id. at 286. The

disputes are undeniably typical, shown by Codorun Farms ability to address them

through the zoning hearing board and the Court of Common Pleas. There has been

no allegation of self-dealing or interfering with otherwise constitutionally protected

activity or for reasons of bias against an ethnic group. Id.

      Further, even taking as true the allegations of personal animosity, that alone

does not elevate this type of conduct into conduct that shocks the conscience in

violation of the Fourteenth Amendment. See Chainey v. Street, 523 F3d 200, 220

(3d Cir. 2008) (“While the meaning of the [shocks the conscience] standard varies

depending upon factual context, merely alleging an improper motive is

insufficient, even where the motive is unrelated to the merits of the underlying

decision.”) Accordingly, Codorun Farms has failed to state a claim for violation of

its substantive due process rights. The motion to dismiss will be granted and the

complaint will be dismissed without prejudice.

      In civil rights cases, “district courts must offer amendment–irrespective of

whether it is requested–when dismissing a case for failure to state a claim unless

doing so would be inequitable or futile.” Fletcher-Harlee Corp. v. Pote Concrete

Contractors, Inc., 482 F.3d 247, 251 (3d Cir. 2007). “Amendment would be futile

if the amended complaint would not survive a motion to dismiss.” Budhun v.

Reading Hosp. & Med. Ctr., 765 F.3d 245, 259 (3d Cir. 2014). Here, given that


                                          11
     Case 1:24-cv-00863-JPW       Document 21      Filed 12/27/24   Page 12 of 12




there could possibly be facts that could be sufficient to state a claim, such as self-

dealing, interference with a constitutionally protected right, or ethnic bias on behalf

of the Township, amendment is not futile, and Codorun Farms will be given leave

to amend.

                                    CONCLUSION

      For the foregoing reasons, the motion to dismiss will be granted. An order

follows.

                                                s/Jennifer P. Wilson
                                                JENNIFER P. WILSON
                                                United States District Judge
                                                Middle District of Pennsylvania


      Dated: December 27, 2024




                                           12
